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                             UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF PENNSYLVANIA


 BLAIR DOUGLASS,

                          Plaintiff,                        Civil Action No. 2:23-cv-73

           v.                                               COMPLAINT FOR DECLARATORY
                                                            AND INJUNCTIVE RELIEF
 BLUE JAY BEACH, INC.,

                          Defendant.


                COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiff Blair Douglass (“Douglass” or “Plaintiff”) brings this action against Defendant

Blue Jay Beach, Inc. (“Birdy Grey” or “Defendant”). Plaintiff makes the following allegations

pursuant to the investigation of counsel and based upon information and belief, except as to the

allegations specifically pertaining to Plaintiff, which are based on personal knowledge:

                          NATURE AND SUMMARY OF THE ACTION

       1.         Douglass is legally blind and is therefore a member of a protected class under Title

III of the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12102(2), and the regulations

implementing the ADA set forth at 28 CFR §§ 36.101 et seq. As a result of his blindness, Douglass

relies on screen access software to access digital content, like a text message, an email, or a

website.

       2.         Defendant is a retailer that sells wedding apparel, accessories, and more to

consumers. In order to access, research, or purchase Defendant’s products and services, consumers

may visit Defendant’s online store, located at https://www.birdygrey.com/ (the “Digital

Platform”).




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       3.      This action arises from Defendant’s failure to make the Digital Platform compatible

with screen access software, thereby denying blind individuals,1 including Douglass, full and equal

access to Defendant’s products and services.

       4.      The fact that Defendant’s Digital Platform is inaccessible is unsurprising. In a 2011

study entitled, Retrofitting Accessibility: The Legal Inequality of After-the-Fact Online Access for

Persons with Disabilities in the United States, researchers explained, “[w]ith a minority of

exceptions, providing accessibility is ignored in favor of faster market entrance for a product or

simply because of long-standing assumptions regarding the need for accessibility and the cost of

creating accessible products.”2

       5.      This exclusionary approach persists among creators notwithstanding the fact that:

       Nothing about technology makes it inherently accessible or inaccessible. Most of
       today’s technologies are digital, meaning that they are made up of zeros and ones,
       and there is nothing inherently visual or auditory about zeros and ones. Digital
       information is not inherently accessible or inaccessible, but the choices made by
       those developing and implementing technology determine whether a technology
       will ultimately be accessible or inaccessible. This is particularly true online, given
       the rapid pace of technological change and introduction of new web-enabled
       technologies, since online technologies are often obsolete before they are made
       accessible.3

       6.      Douglass files this lawsuit because Defendant’s policies exclude him—and

millions of other potential consumers—from fully and equally enjoying Defendant’s products and

services, and because “[i]f people with disabilities are to move from being the most disadvantaged



1
  Douglass uses the word “blind” to describe individuals who, as a result of a visual impairment,
have substantially limited eyesight. This includes individuals who have no vision or who have low
vision. See James H. Omvig, Why Use the Word “Blind”?, Braille Monitor (Jan. 2009),
https://nfb.org//sites/default/files/images/nfb/publications/bm/bm09/bm0901/bm090107.htm.
2
  Brian Wentz, Paul T. Jaeger, and Jonathan Lazar, Retrofitting Accessibility: The Legal Inequality
of After-the-Fact Online Access for Persons with Disabilities in the United States, First Monday,
Vol. 16, No. 11 (Nov. 7, 2011), available at https://firstmonday.org/ojs/index.php/fm/article/
download/3666/3077.
3
  Id.


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population online to equal residents of cyberspace,”4 we must reject the mentality of retrofitting in

favor of a philosophy that emphasizes the design and development of technology that is inclusive

of people with disabilities from launch.

       7.      Accordingly, Douglass seeks an order requiring that Defendant make its Digital

Platform accessible and adopt sufficient policies and practices to ensure the Digital Platform does

not become inaccessible again in the future.

                                 JURISDICTION AND VENUE

       8.      The claims alleged arise under Title III such that this Court’s jurisdiction is invoked

pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

       9.      Defendant attempts to, and indeed does, participate in the Commonwealth’s

economic life by offering and providing products and services over the internet to Pennsylvania

residents, including Douglass. Unlike, for example, a winery that may not be able to sell and ship

wine to consumers in certain states, Defendant purposefully avails itself of the benefits and

advantages of operating an interactive, online business open 24-hours a day, 7-days a week, 365-

days a year to Pennsylvania residents.5




4
  Id.
5
  See Gniewkowski v. Lettuce Entertain You Enters., No. 2:16-cv-1898-AJS, Order, ECF 123
(W.D. Pa Apr. 25, 2017), clarified by Order of Court, ECF 169 (W.D. Pa. June 22, 2017) (Judge
Schwab) (citing Zippo Mfg. Co. v. Zippo Dot Com, Inc., 952 F. Supp. 1119 (W.D. Pa. 1997)
(exercising specific personal jurisdiction over forum plaintiff’s website accessibility claims against
out-of-forum hotel operator)); Law School Admission Council, Inc. v. Tatro, 153 F. Supp. 3d 714,
720-21 (E.D. Pa. 2015) (exercising personal jurisdiction over out-of-forum website operator);
Access Now Inc. v. Otter Products, LLC, 280 F. Supp. 3d 287 (D. Mass. 2017) (exercising personal
jurisdiction over forum plaintiff’s website accessibility claims against out-of-forum website
operator); Access Now, Inc. v. Sportswear, Inc., 298 F. Supp. 3d 296 (D. Mass. 2018) (same).


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       10.     These online interactions between Defendant and Pennsylvania residents involve,

and indeed require, Defendant’s knowing and repeated transmission of computer files over the

internet in Pennsylvania.

       11.     Indeed, upon information and belief, Defendant places cookies on computers and

other electronic devices physically located in Pennsylvania every time a Pennsylvania resident

visits the Digital Platform.

       12.     Douglass was injured when he attempted to access the Digital Platform from

Pittsburgh, Pennsylvania, but encountered communication barriers that denied him full and equal

access to Defendant’s online products, content, and services.

       13.     Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the acts and omissions giving rise to Douglass’s

claims occurred.

                                           PARTIES

       14.     Douglass is a natural person over the age of 18. He resides in and is a citizen of

Pittsburgh, Pennsylvania, located in Allegheny County.

       15.     He works for an area university as a Program Administrator, managing all phases

of the admission process for a highly competitive science training program, among other things.

Douglass is also a licensed Pennsylvania attorney. He graduated from the University of Pittsburgh

School of Law. During his enrollment at Pitt Law, Douglass completed a judicial internship in the

United States District Court for the Western District of Pennsylvania.




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        16.     Douglass has advocated for blind individuals his entire life and long before filing a

lawsuit.6

        17.     On two occasions, the United States District Court for the Western District of

Pennsylvania has appointed Douglass to represent class members in class actions whose claims

were substantially similar to the claims asserted in this individual action. Douglass v. Optavia,

Inc., No. 2:22-cv-00594-CCW, 2022 U.S. Dist. LEXIS 170130, at *2-3 (W.D. Pa. Sept. 14, 2022)

(“The Court finds that Plaintiff Blair Douglass will fairly and adequately protect the interests of

the Settlement Class. As a result, the Court appoints and designates Mr. Douglass as representative

of the Settlement Class.”); Murphy v. Charles Tyrwhitt, Inc., No. 1:20-cv-00056, 2020 U.S. Dist.

LEXIS 222540, at *9, *34 (W.D. Pa. Nov. 25, 2020), report and recommendation adopted by 2021

U.S. Dist. LEXIS 144 (W.D. Pa. Jan. 4, 2021) (“Based on the above, the Court finds that Anthony

Hammond Murphy and Blair Douglas [sic] will fairly and adequately represent the class as

representative Plaintiffs and that their proposed class counsel will fairly and adequately protect the

interests of the class and provide capable legal representation. The adequacy requirement of Rule

23(a) is satisfied.”).

        18.     Defendant is a Delaware corporation with a principal place of business in

California.



6
  Treshea N. Wade, Blindness doesn’t keep teen from success, Trib Total Media (May 30, 2005),
https://archive.triblive.com/news/blindness-doesnt-keep-teen-from-success/ (last accessed Jan.
17, 2023) (“I am not striving necessarily for perfection, but I just want to do well[.] …Sure I have
a disability. But it’s a disability that anyone can readily overcome with a lot of hard work.”); Zak
Koeske, Pitt student aims to rise above stereotype, Pittsburgh Post-Gazette (July 23, 2009),
https://www.post-gazette.com/local/south/2009/07/23/Pitt-student-aims-to-rise-above-
stereotype/stories/200907230364 (last accessed Jan. 17, 2023) (“Blindness can’t hold you back
from doing anything you want to do[.] …Blindness is simply a physical condition. You have to
make a few adaptations, but those aren’t big enough to affect your ability to do a job competently.
…There are always going to be some people who doubt your ability. ... I have no trouble trying to
prove them wrong.”).


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       19.     Defendant owns, operates, and/or controls its Digital Platform and is responsible

for the policies, practices, and procedures concerning the Digital Platform’s development and

maintenance.

                       STANDING UP FOR TITLE III OF THE ADA

       20.     “Congress passed the ADA in 1990 to fix a serious problem—namely, the seclusion

of people with disabilities resulting in explicit and implicit discrimination. . . . The disabled

population hoped that, as a result of the ADA, their lives would no longer be shaped by limited

access and the inability to choose. . . . However, reality—a lack of compliance with the ADA and

severe underenforcement of the statute—soon destroyed this hope.”7

       21.     More than thirty years “after the passage of the ADA, numerous facilities are still

not compliant leaving the disabled population in a second-class citizenship limbo. Title III of the

ADA allows both the U.S. Attorney General8 and private individuals9 to sue, but the rate at which

[ ] the Attorney General [is] bringing suit seeking compliance is extremely low. The Department

of Justice’s Disability Section, tasked with ADA enforcement, is understaffed[.]”10




7
  Kelly Johnson, Testers Standing up for the Title III of the ADA, 59 Cas. W. Res. L. Rev. 683,
684 (2009), http://scholarlycommons.law.case.edu/caselrev/vol59/iss3/6 (citing H.R. REP. No.
101-485, pt. 2, at 28-29 (1990); Elizabeth Keadle Markey, The ADA’s Last Stand?: Standing and
the Americans with Disabilities Act, 71 Fordham L. Rev. 185 (2002) (arguing for a more lenient
standard for standing under the ADA); and Samuel R. Bagenstos, The Perversity of Limited Civil
Rights Remedies: The Case of “Abusive” ADA Litigation, 54 UCLA L. Rev. 1, 3 (2006)
(discussing the need for private enforcement in Title III)).
8
  42 U.S.C. § 12188(b).
9
  42 U.S.C. § 12188(a).
10
   Johnson, supra note 7.


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       22.     Thus, “private suits by necessity represent the main tool for ensuring compliance

with Congress’ intent in passing the ADA,”11 most of which suits “are brought by a small number

of private plaintiffs who view themselves as champions of the disabled.”12

       23.     The U.S. Department of Justice (“DOJ”) supports this dynamic, recognizing that

because it “cannot investigate every place of public accommodation,” “[p]rivate plaintiffs play an

important role in enforcing the ADA[.]”13

       24.     Courts recognize this dynamic too.

       [Defendant] also points to the number of cases filed by the same plaintiff in this
       jurisdiction. Counsel have filed nine cases in this jurisdiction on behalf of [the
       plaintiff]. I am not impressed by this argument. If the ADA were enforced directly
       by the government, as are, for example, the fair housing laws, it is likely that
       government lawyers would have reached out to disabled individuals — “testers” as
       they are called — to find out which businesses were complying and which were
       not. [The named plaintiff] has functioned here as a “tester,” which is entirely
       appropriate.14

       25.     Consistent with these policies, Douglass files this case to ensure Defendant

provides full and equal access to consumers with disabilities.




11
   Betancourt v. Ingram Park Mall, 735 F. Supp. 2d 587, 596 (W.D. Tex. 2010).
12
   Id. (quoting Molski v. Evergreen Dynasty Corp., 500 F.3d 1047, 1062 (9th Cir. 2007)); D’Lil v.
Best Western Encina Lodge & Suites, 538 F.3d 1031, 1040 (9th Cir. 2008) (same).
13
   Statement of Interest of the United States of America, ERC v. Abercrombie & Fitch Co., No.
1:09-cv-03157 (D. Md.), ECF No. 38, at *1 (July 6, 2010); See also Hensley v. Eckerhart, 461
U.S. 424, 445 (1983) (“All of these civil rights laws depend heavily upon private enforcement, and
fee awards have proved an essential remedy if private citizens are to have a meaningful opportunity
to vindicate the important Congressional policies which these laws contain.”).
14
   Norkunas v. HPT Cambridge, LLC, 969 F. Supp. 2d 184, 194 (D. Mass. 2013) (Young, J.)
(quoting Iverson v. Braintree Prop. Assocs., L.P., No. 04-cv-12079-NG, 2008 WL 552652, at *3
n.5 (D. Mass. Feb. 26, 2008) (Gertner, J.)); see also Murphy v. Bob Cochran Motors, Inc., No.
1:19-cv-00239, 2020 U.S. Dist. LEXIS 139887, at *15-16 (W.D. Pa. Aug. 4, 2020), adopted by
Murphy v. Bob Cochran Motors, Inc., 2020 U.S. Dist. LEXIS 177593 (W.D. Pa., Sept. 28, 2020)
(upholding tester standing in a substantially identical ADA website accessibility case).


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                              SUBSTANTIVE ALLEGATIONS

             Defendant’s Accessibility Policies and Inaccessible Digital Platform

       26.     Two of the most commonly used screen reader auxiliary aids are JAWS from

Freedom Scientific (available on Windows computers) and VoiceOver (available on macOS and

iOS devices).15

       27.     “JAWS, Job Access With Speech, is the world’s most popular screen reader,

developed for computer users whose vision loss prevents them from seeing screen content or

navigating with a mouse. JAWS provides speech and Braille output for the most popular computer

applications on your PC. You will be able to navigate the Internet, write a document, read an email

and create presentations from your office, remote desktop, or from home.”16

       28.     “VoiceOver is an industry-leading screen reader that tells

you exactly what’s happening on your device. VoiceOver can now

describe people, objects, text, and graphs in greater detail than ever.

Auditory descriptions of elements help you easily navigate your screen

through a Bluetooth keyboard or simple gestures on a touchscreen or

trackpad. And with unique rotor gestures that function like a dial on

touchscreens and trackpads, you can make content such as websites a

breeze to browse.”17




15
      See Screen Reader User Survey #9 Results,                        WebAIM, webaim.org,
https://webaim.org/projects/screenreadersurvey9/ (last accessed Jan. 17, 2023).
16
   JAWS®, Freedom Scientific, https://www.freedomscientific.com/products/software/jaws/ (last
accessed Jan. 17, 2023).
17
   See Accessibility, Apple, https://www.apple.com/accessibility/vision/ (last accessed Jan. 17,
2023).


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         29.    Here is an example of

another online store’s successful use of

audio descriptions to communicate its

products to screen reader users.18 The

image on the left illustrates what shoppers

perceive visually when browsing the

online store with an iPhone. To the right

is an image from the online store with the audio description highlighted for that image in green.

Although invisible to the eye, screen access software reads this highlighted text aloud in order to

describe the image to shoppers who cannot perceive content visually. In this example, when

shoppers tab to the image file with a screen reader, the online store announces, “One burlap and

cotton tote bag with a custom printed architectural company logo.” Blind shoppers require audio

descriptions, frequently called “alternative text,” like this to access digital content fully, equally,

and independently.

         30.    Unfortunately, because of Defendant’s failure to build the Digital Platform in a

manner that is compatible with screen access software, Douglass is unable to fully and equally

access Defendant’s products and services.

         31.    For example, as a result of visiting the Digital Platform in February 2022, and from

investigations performed on his behalf at that time, Douglass found that he could not fully and

equally access the Digital Platform in at least the following ways.

                (a)    Defendant uses visual cues to convey content and other information.

Unfortunately, screen readers cannot interpret these cues and communicate the information they



18
     See Custom Ink, Homepage, https://www.customink.com/ (last accessed Mar. 28, 2019).


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represent to individuals with visual disabilities. For example, consumers who perceive content

visually will notice that many products available for purchase on the Digital Platform include two

prices. One price—a higher price—appears in strikethrough font. The other—a lower price—does

not. Consumers who perceive content visually will understand that the price appearing in

strikethrough font is the “old” or “original” price, while the price appearing in regular font is the

“new” or “sale” price. Unfortunately, screen readers cannot identify the meanings of these two

fonts so that users can make an informed decision. Instead, Defendant announces two prices for

the same product, making it difficult for consumers to determine with certainty what they signify,

like different quantities, conditions, sizes, or in this case, sales. This unnecessary confusion

frustrates Plaintiff’s ability to make informed purchasing decisions, and increases the odds he will

abandon the purchase process without making a selection at all. Click the following link to view a

short video demonstrating this access barrier: https://youtu.be/QPMbp-vmqj8.

               (b)     Defendant prevents screen reader users from accessing primary content. For

example, the Digital Platform provides a size chart that consumers may review to determine what

size apparel to purchase. Size charts are particularly important to consumers who shop online

because they lack the opportunity to try on products, like the apparel that Defendant sells, before

purchasing. Unfortunately, the Digital Platform prevents screen readers from tabbing to this size

chart. Instead, screen readers remain focused on the content of the Digital Platform’s underlying

page. As a result, screen reader users, including Plaintiff, are unable to access the sizing

information they require to confidently purchase products that will fit, making it likely they

abandon the online shopping experience before making a purchase. Click the following link to

view a short video demonstrating this access barrier: https://youtu.be/1uVpPl_En-k.




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               (c)     Many of the products Defendant sells on its Digital Platform are available

in different colors. Consumers who perceive content visually may click or tap their screen to select

the color they wish to purchase or view. Unfortunately, consumers who use screen readers to shop

online cannot do the same. Instead, the Digital Platform is designed in such a way that screen

readers cannot select a color by tabbing with a screen reader. This is because screen readers skip

from the content above these options to the content beneath them. This access barrier limits blind

shoppers to a fraction of Defendant’s online store. Click the following link to view a short video

demonstrating this access barrier: https://youtu.be/B8KQmwGN0eU.

               (d)     Consumers who perceive content visually will notice a pop-up window after

placing an item in their shopping bag. This pop-up window confirms the shopper placed the item

in their shopping bag successfully and asks consumers if they would like to review their order.

Unfortunately, Defendant fails to notify screen readers when these pop-up windows appear. As a

result, screen reader users, like Plaintiff, do not receive this confirmation and shortcut to the

payment platform. Instead, screen reader users must tab back to the top of a webpage and locate

and click the cart icon in order to review their order and complete a purchase. This burdensome,

backward, and confusing interaction makes it more likely that Plaintiff and other blind shoppers

will abandon the items in their shopping bag and leave the Digital Platform before completing a

purchase. Click the following link to view a short video demonstrating this access barrier:

https://youtu.be/-sIcnGwBaXg.

       32.     Consistent with public policy encouraging the resolution of “dispute[s] informally

by means of a letter[,]” see Yahoo! Inc. v. La Ligue Contre Le Racisme Et L’Antisemitisme, 433

F.3d 1199, 1208 (9th Cir. 2006), which “prelitigation solutions [are] clearly, the most expedient

and cost-effective means of resolving” website accessibility claims, see Sipe v. Am. Casino & Ent.




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Properties, LLC, 2016 WL 1580349, at *2-3 (W.D. Pa. Apr. 20, 2016), Douglass contacted

Defendant about its inaccessible Digital Platform and attempted to resolve his discrimination

claims before commencing litigation. That attempt was unsuccessful.

       33.     As a result, Douglass and his counsel completed another review of Defendant’s

Digital Platform in January 2023. This subsequent investigation confirms that notwithstanding

Douglass’s good faith, pre-litigation attempts to resolve his concerns, Defendant’s Digital Platform

remains inaccessible and Defendant’s accessibility policies and practices remain insufficient.

               (a)        Defendant provides ambiguous alternative text for coupon codes.

Consumers who perceive content visually will encounter the following coupon code on the Digital

Platform: “TIEONEON.” These consumers can retype the coupon code when prompted during the

checkout process. Unfortunately, consumers who rely on screen reader technology to understand

digital content are unlikely (or unable) to perceive this coupon code correctly because Defendant

has combined three separate words without a space. As a result, screen reader auxiliary aids will

read the coupon as if it is a single word, producing garbled audio that is difficult, if not impossible,

to understand. This makes it less likely that Plaintiff will provide the correct coupon code at

checkout, causing him to pay more than consumers who do not have a visual disability. Click the

following    link    to      view    a   short    video    demonstrating      this   access     barrier:

https://youtube.com/shorts/Y-0fOFh6FHs?feature=share.

               (b)        Links and buttons on the Digital Platform do not describe their purpose. As

a result, consumers who have a visual impairment cannot determine whether they want to follow

a particular link, making navigation an exercise of trial and error. For example, consumers who

perceive content visually will likely recognize the Digital Platform’s shopping cart icon and

understand that by clicking it, Defendant will redirect them to its online checkout platform.




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Unfortunately, this icon is not labeled with sufficiently descriptive alternative text. As a result,

when screen readers hover over it, Defendant announces the number of items in the shopping cart,

only. Because this text is meaningless without visually perceiving the context in which it appears,

Plaintiff is unlikely (or unable) to locate the payment platform and complete a purchase

successfully. Click the following link to view a short video demonstrating this access barrier:

https://youtube.com/shorts/ZuQ_NTf8MxY?feature=share.

               (c)     Defendant uses visual cues to convey content and other information.

Unfortunately, screen readers cannot interpret these cues and communicate the information they

represent to individuals with visual disabilities. For example, consumers who perceive content

visually will notice that many products available for purchase on the Digital Platform include two

prices. One price—a higher price—appears in strikethrough font. The other—a lower price—does

not. Consumers who perceive content visually will understand that the price appearing in

strikethrough font is the “old” or “original” price, while the price appearing in regular font is the

“new” or “sale” price. Unfortunately, screen readers cannot identify the meanings of these two

fonts so that users can make an informed decision. Instead, Defendant announces two prices for

the same product, making it difficult for consumers to determine with certainty what they signify,

like different quantities, conditions, sizes, or in this case, sales. This unnecessary confusion

frustrates Plaintiff’s ability to make informed purchasing decisions and increases the odds he will

abandon the purchase process without making a selection at all. Click the following link to view a

short video demonstrating this access barrier: https://youtube.com/shorts/7v4V8TEJsJo

?feature=share.

               (d)     Defendant does not provide a text equivalent for non-text elements.

Providing text alternatives allows the information to be rendered in a variety of ways by a variety




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of users. A person who cannot see a picture, logo, or icon can have a text alternative read aloud

using synthesized speech. For example, the Digital Platform provides a five-star rating for many

products that Defendant sells. Consumers who perceive content visually can see whether a

particular product has one, two, three, four, or five stars, and base their purchasing decisions on

this information. Unfortunately, Defendant’s accessibility policies fail to provide sufficiently

descriptive alternative text for this important rating information. To this end, screen readers do not

provide any audio alternative for this rating information because the Digital Platform is designed

in such a way that screen readers skip over the stars entirely. As a result, Plaintiff must make his

purchasing decisions without the benefit of knowing whether the products he’s researching are

well received by other consumers. Click the following link to view a short video demonstrating

this access barrier: https://youtube.com/shorts/opT30woMsK0?feature=share.

               (e)     Defendant uses visual cues as the only means of conveying information,

indicating an action, prompting a response, or distinguishing a visual element. Providing

information conveyed visually through an audio means is necessary to ensure that consumers who

cannot see can still perceive this information. For example, Defendant dims the sizes in which a

particular product is unavailable, and places a slash atop the colors in which a product is

unavailable. Consumers who perceive content visually will see this visual cue and infer that the

product they’re researching is unavailable in the corresponding size and/or color. Unfortunately,

Defendant fails to include sufficiently descriptive alternative text to also identify which sizes and

colors are unavailable, making it impossible for Plaintiff to discover which sizes and colors are

out-of-stock. Click the following link to view a short video demonstrating this access barrier:

https://youtu.be/8z8IvVkxydM.




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                                         Plaintiff’s Injury

       34.      The access barriers described above, and others, deny Douglass full and equal

access to the Digital Platform today.

       35.      These barriers, together with Defendant’s insufficient policies and practices, also

humiliate and deter Douglass from returning to the Digital Platform, where he cannot help but feel

second-class.

       36.      Still, Douglass intends to attempt to access the Digital Platform within the next six

months to determine if it is accessible and, if so, to potentially explore the community, products,

and services Defendant offers at that time.

                    Defendant Received Fair Notice of its ADA Obligations

       37.      Since its enactment in 1990, the ADA has clearly stated that covered entities must

provide “full and equal enjoyment of the[ir] goods, services, facilities, privileges, advantages, or

accommodations” to people with disabilities,19 and must “ensure that no individual with a

disability is excluded, denied services, segregated or otherwise treated differently than other

individuals because of the absence of auxiliary aids and services.”20

       38.      DOJ first announced its position that Title III applies to websites of public

accommodations in a 1996 letter from Assistant Attorney General Deval Patrick responding to an

inquiry by Senator Tom Harkin regarding the accessibility of websites to blind individuals.21




19
   42 U.S.C. § 12182(a).
20
   42 U.S.C. § 12182(b)(2)(A)(iii).
21
   Letter from Deval L. Patrick, Assistant Attorney General, Civil Rights Division, Department of
Justice, to Tom Harkin, U.S. Senator (Sept. 9, 1996),
 https://www.justice.gov/crt/foia/file/666366/download (last accessed Jan. 17, 2023).


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        39.       In 2000, DOJ argued to the Fifth Circuit that a business providing services solely

over the internet is subject to the ADA’s prohibitions on discrimination on the basis of disability.22

        40.       In 2002, DOJ argued to the Eleventh Circuit that there need not be a nexus between

a challenged activity and a private entity’s “brick-and-mortar” facility to obtain coverage under

Title III. DOJ argued that Title III applies to any activity or service offered by a public

accommodation, on or off the premises.23

        41.       In 2014, DOJ entered into a settlement agreement with America’s then-leading

internet grocer to remedy allegations that its website was inaccessible to some individuals with

disabilities.24

        42.       In a 2018 letter to U.S. House of Representative Ted Budd, U.S. Department of

Justice Assistant Attorney General Stephen E. Boyd confirmed: “[t]he Department [of Justice] first

articulated its interpretation that the ADA applies to public accommodations’ websites over 20

years ago. This interpretation is consistent with the ADA’s title III requirement that the goods,




22
   Brief of the United States as Amicus Curiae in Support of Appellant, Hooks v. Okbridge, Inc.,
No. 99-50891 (5th Cir. June 30, 2000), https://www.justice.gov/sites/default/files/crt
/legacy/2010/12/14/hooks.pdf (last accessed Jan. 17, 2023) (“A COMMERCIAL BUSINESS
PROVIDING SERVICES SOLELY OVER THE INTERNET IS SUBJECT TO THE ADA’S
PROHIBITION AGAINST DISCRIMINATION ON THE BASIS OF DISABILITY.”) (emphasis
in original).
23
   Brief for the United States as Amicus Curiae in Support of Appellant, Rendon v. Valleycrest
Productions,       Inc.,     No.      01-11197,         294     F.3d     1279      (11th      Cir.
2002), https://www.justice.gov/sites/default/files/crt/legacy/2010/12/14/rendon.pdf (last accessed
Jan. 17, 2023).
24
   See Settlement Agreement Between the United States of America and Ahold U.S.A., Inc. and
Peapod, LLC, DJ 202-63-169 (Nov. 17, 2014), https://www.justice.gov/file/163956/download
(last accessed Jan. 17, 2023).


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services, privileges, or activities provided by places of public accommodation be equally

accessible to people with disabilities.”25

       43.     In 2019, the United States Supreme Court declined to review a Ninth Circuit

decision holding that Title III covers websites and mobile applications.26

       44.     In 2022, DOJ published “Guidance on Web Accessibility and the ADA,” reiterating

that DOJ “has consistently taken the position that the ADA’s requirements apply to all the goods,

services, privileges, or activities offered by public accommodations, including those offered on the

web.”27

                                  SUBSTANTIVE VIOLATION

                          Title III of the ADA, 42 U.S.C. § 12181 et seq.

       45.     The assertions contained in the previous paragraphs are incorporated by reference.

       46.     Douglass is an individual with a “disability.” With respect to an individual, the

ADA defines “disability” as “a physical or mental impairment that substantially limits one or more

major life activities of such individual[.]” 42 U.S.C. § 12102(1)(A). The ADA defines “major life

activities” to include, in relevant part, “seeing[.]” 42 U.S.C. § 12102(2)(A). Because Douglass is

blind, he meets Title III’s definition of an individual with a disability.

       47.     Defendant operates a place of public accommodation under Title III. Title III

defines a “public accommodation” as including a “sales or rental establishment” and/or “other




25
   See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice, to
Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018),
https://www.adatitleiii.com/wp-content/uploads/sites/121/2018/10/DOJ-letter-to-congress.pdf
(last accessed Jan. 17, 2023).
26
   See Robles v. Domino’s Pizza, LLC, 913 F.3d 898 (9th Cir. 2019), cert. denied 140 S. Ct. 122
(2019) (No. 18-1539).
27
   Civil Rights Division, Department of Justice, Guidance on Web Accessibility and the ADA (Mar.
18, 2022), https://beta.ada.gov/resources/web-guidance/ (last accessed Jan. 17, 2023).


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service establishment[.]” 42 U.S.C. § 12181(7)(E), (F). Because Defendant provides goods and

services to the general public, it meets Title III’s definition of a place of public accommodation.

       48.      Title III begins with a general rule that “[n]o individual shall be discriminated

against on the basis of disability in the full and equal enjoyment of the goods, services, facilities,

privileges, advantages, or accommodations of any place of public accommodation.” 42 U.S.C. §

12182(a).

       49.      The statute contains several general prohibitions, including a prohibition against

“denying an individual on the basis of a disability ‘the opportunity . . . to participate in or benefit

from the goods [or] services’ of a public accommodation.” 42 U.S.C. § 12182(b)(1)(A)(i).

       50.      These general prohibitions are supplemented by several specific prohibitions,

including an auxiliary aids and services requirement, which requires public accommodations to

“take such steps as may be necessary to ensure that no individual with a disability is excluded,

denied services, segregated or otherwise treated differently than other individuals because of the

absence of auxiliary aids and services.” 42 U.S.C. § 12182(b)(2)(A)(iii).

       51.      The United States Department of Justice (“DOJ”) has issued regulations

implementing the ADA, including the auxiliary aid and service requirement.

       52.      These regulations define “screen reader software,” like what Douglass used to

attempt to access the Digital Platform, as being a covered “auxiliary aid and service.” 28 C.F.R. §

36.303(b)(2).

       53.      The regulations also include an effective communication requirement, which

requires public accommodations to “furnish appropriate auxiliary aids and services where

necessary to ensure effective communication with individuals with disabilities.” 28 C.F.R. §

36.303(c)(1).




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        54.      DOJ has issued regulatory guidance noting that the duty to provide effective

communication with customers is implicit in the duty of a public accommodation to provide

auxiliary aids and services. Appx. A to Part 36 - Guidance on Revisions to ADA Regulation on

Nondiscrimination on the Basis of Disability by Public Accommodations and Commercial

Facilities.28

        55.      DOJ also has issued a Technical Assistance Publication, which provides guidance

on communicating effectively with individuals who have vision, hearing, or speech disabilities.

Dep’t of Justice, ADA Requirements: Effective Communication (Jan. 2014).29 This publication

requires the provision of “information technology that is accessible (either independently or

through assistive technology such as screen readers).” Id.

        56.      Defendant has violated Title III’s general anti-discrimination mandate and effective

communication requirement by failing to ensure the Digital Platform is fully and equally accessible

through screen reader auxiliary aids.

        57.      This unequal access also humiliates and deters Douglass from attempting to access

the Digital Platform, forcing him to wait until Defendant elects to retrofit the Digital Platform to

be accessible.

                                      PRAYER FOR RELIEF

        WHEREFORE, Douglass requests judgment as follows:

        (A)      A declaratory judgment that at the commencement of this action Defendant was in

violation of the specific requirements of Title III of the ADA described above, and the relevant




28
   This guidance is available at https://www.ecfr.gov/current/title-28/chapter-I/part-36/appendix-
Appendix%20A%20to%20Part%2036 (last accessed Jan. 17, 2023).
29
   This guidance is available at http://www.ada.gov/effective-comm.htm (last accessed Jan. 17,
2023).


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implementing regulations of the ADA, in that Defendant took no action that was reasonably

calculated to ensure Douglass could fully, equally, and independently access Defendant’s online

community, products, and services;

       (B)     A permanent injunction, pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a), which directs Defendant to take all steps necessary to ensure its products and services

are fully, equally, and independently accessible to Douglass, and which further directs that the

Court shall retain jurisdiction for a period to be determined to ensure that Defendant has adopted

and is following policies and practices that will cause Defendant to remain in compliance with the

law—the specific injunctive relief requested by Plaintiff is described more fully below;

               (1)     Within 90 days of the Court’s order, Defendant shall complete an

accessibility audit of its Digital Platform that will examine the accessibility and usability of the

Digital Platform by consumers who are blind.

               (2)     Within 180 days of the Court’s order, Defendant shall develop a corrective

action strategy (“Strategy”) based on the audit findings. In addition to the deadlines outlined

below, the Strategy shall include dates by which corrective action shall be completed.

               (3)     Within 210 days of the Court’s order, Defendant shall disseminate the

Strategy among its executive-level managers, employees, and contractors, if any, involved in

digital development and post it on the Digital Platform.

               (4)     Within 90 days of the Court’s order, Defendant shall develop a Digital

Accessibility Policy Statement that demonstrates its commitment to digital accessibility to blind

and other print disabled consumers, as required by the Americans with Disabilities Act. This Policy

Statement shall be posted in the header of each homepage on the Digital Platform within 120 days




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of the Court’s order, and shall disclose that an audit is taking or has taken place and that a Strategy

will be disseminated and posted on the Digital Platform within 180 days of the Court’s order.

                (5)    Within 240 days of the Court’s order, Defendant shall develop procedures

to implement its Digital Accessibility Policy across the entire Digital Platform. Defendant shall

disseminate its Policy and procedures to its executive-level managers, employees, and contractors,

if any, involved in digital development.

                (6)    Within 12 months of the Court’s order, Defendant shall conduct training,

instruction and support to ensure that all executive-level managers and employees involved in

digital development are aware of and understand the Digital Accessibility Policy, including proper

procedures, tools, and techniques to implement the Digital Accessibility Policy effectively and

consistently.

                (7)    Within 12 months of the Court’s order, Defendant shall hire or designate a

staff person with responsibility and commensurate authority, to monitor the Digital Accessibility

Policy and procedures.

                (8)    Within 12 months of the Court’s order, Defendant shall develop and

institute procedures that require third-party content and plug-ins built into the Digital Platform to

provide blind consumers the same programs, benefits and services that they do to individuals

without disabilities, except when it is technically unfeasible to do so. Defendant shall effectuate

these obligations by, among other things, implementing as part of its Request for Proposal process

language that bidders meet the accessibility standards set forth in WCAG 2.1 Level AA for web-

based technology and the Americans with Disabilities Act; requiring or encouraging, at

Defendant’s discretion, as part of any contract with its vendors, provisions in which the vendor




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warrants that any technology provided complies with these standards and any applicable current

federal disability law.

               (9)        Within 18 months, all pages hosted on the Digital Platform that have been

published shall be Accessible to blind users. “Accessible” means fully and equally accessible to

and independently usable by blind individuals so that blind consumers are able to acquire the same

information, engage in the same interactions, and enjoy the same services as sighted consumers,

with substantially equivalent ease of use.

               (10)       Defendant shall not release for public viewing or use a substantial addition,

update, or change to the Digital Platform until it has determined through automated and end-user

testing that those proposed additions, updates, or changes are Accessible.

               (11)       Defendant shall conduct (a) an automated scan monthly and (b) end-user

testing quarterly thereafter to ascertain whether any new posted content is Accessible. Defendant

shall notify all employees and contractors, if any, involved in digital development if corrections to

the Digital Platform are needed and of reasonable timelines for corrections to be made. Defendant

shall note if corrective action has been taken during the next monthly scan and quarterly end-user

test.

               (12)       Following the date of the Court’s order, for each new, renewed, or

renegotiated contract with a vendor of third-party content, Defendant shall seek a commitment

from the vendor to provide content in a format that is Accessible.

               (13)       Defendant shall provide Plaintiff, through his counsel, with a report on the

first and second anniversaries of the Court’s order which summarizes the progress Defendant is

making in meeting its obligations. Additional communication will occur before and after each




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anniversary to address any possible delays or other obstacles encountered with the implementation

of the Digital Accessibility Policy.

          (C)     Payment of actual, statutory, nominal, and other damages, as the Court deems

proper;

          (D)     Payment of costs of suit;

          (E)     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

§ 36.505, including costs of monitoring Defendant’s compliance with the judgment;30

          (F)     Whatever other relief the Court deems just, equitable and appropriate; and

          (G)     An order retaining jurisdiction over this case until Defendant has complied with the

Court’s orders.

 Dated: January 17, 2023                             /s/ Kevin W. Tucker
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   See People Against Police Violence v. City of Pittsburgh, 520 F.3d 226, 235 (3d Cir. 2008)
(“This Court, like other Courts of Appeals, allows fees to be awarded for monitoring and enforcing
Court orders and judgments.”); Gniewkowski v. Lettuce Entertain You Enterprises, Inc., No. 2:16-
cv-01898-AJS (W.D. Pa. Jan. 11, 2018) (ECF 191); Access Now, Inc. v. Lax World, LLC, No.
1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11); Amended Order Granting In Part
Plaintiffs’ Motion For Attorneys’ Fees And Costs; Denying Administrative Motion To
Seal, National Federation of the Blind of California v. Uber Technologies, Inc., No. 14-cv-04086-
NC (N.D. Cal. Nov. 8, 2019), https://rbgg.com/wp-content/uploads/NFB-v-Uber-Amended-
Order-Granting-In-Part-Pltfs-Motion-for-Attys-Fees-and-Costs-11-08-19.pdf (last accessed Jan.
17, 2023) (finding plaintiffs “are entitled to reasonable attorneys’ fees incurred in connection with
monitoring [defendant's] compliance with the Settlement” of a Title III ADA case).


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